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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )
                                                   )   Civil Case No. 2:18-cv-00110
        v.                                         )
                                                   )
$34,478.30 SEIZED FROM                             )
CENTERSTATE BANK OF                                )
FLORIDA ACCOUNT ENDING                             )
XXX1518,                                           )
                                                   )
                Defendant.

                NOTICE OF FORFEITURE AND NOTICE OF STAY


         CenterState Bank of Florida                            Weise Prescription Shop, Inc.
             7077 Bonneval Road                                      c/o Rhonda Weise
                  Suite 110                                        4343 Colonial Avenue
         Jacksonville, FL 32216-6073                            Jacksonville, FL 32210-3326

                Rhonda Weise                                           Rhonda Weise
        1855 Copper Stone Drive, Apt. E                             1733 Sanctuary Way
        Fleming Island, FL 32003-4061                          Fleming Island, FL 32003-4986


                                           Dale R. Sisco, Esq.
             c/o Weise Prescription Shop, Inc., Jo Helen Weise and Gilbert Nelson Weise, Jr.
                                                 Sisco Law
                                       1110 North Florida Avenue
                                        Tampa, FL 33602-3343

      The enclosed Complaint is sent pursuant to Rule G(4)(b), Supplemental Rules
for Admiralty or Maritime Claims and Asset Forfeiture Actions.

      1. DATE OF NOTICE: September 20, 2018.

      2. FORFEITURE COMPLAINT: On September 17, 2018, the United States
         of America filed a civil complaint (the “Complaint”) seeking forfeiture,
         pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 881(a)(6) and 28 U.S.C. §
         2461, in the United States District Court for the Southern District of
         Georgia against the following defendant property:
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           •   $34,478.30 seized from CenterState Bank of Florida account ending
               in XXX1518

        (hereinafter, the “Defendant Property”).

     3. ENTRY OF STAY: On September 19, 2018, the Honorable Lisa Godbey
        Wood, United States District Court Judge for the Southern District of
        Georgia, entered the enclosed order staying the civil forfeiture action
        against the Defendant Property until the conclusion of the related criminal
        case.

     4. FILING OF A VERIFIED CLAIM: Pursuant to Supplemental Rule
        G(5)(a)(ii), in order to avoid forfeiture of the Defendant Property, any
        person who asserts an interest in the Defendant Property must file a
        verified claim within thirty-five (35) days of the date notice is sent.
        However, because the civil forfeiture case against the Defendant Property
        is currently stayed, any verified claim need not be filed until such time as
        the stay is lifted. The United States of America will notify you when the
        stay has been lifted.

     5. CONTENTS OF VERIFIED CLAIM: Pursuant to Rule G(5)(a), the claim
        must (A) identify the specific property claimed; (B) identify the claimant
        and state the claimant’s interest in the property; and (C) be signed by the
        claimant under penalty of perjury.

     6. FILING OF AN ANSWER: If you file a verified claim, you must then file
        an answer to the Complaint or a motion under Rule 12 of the Federal Rules
        of Civil Procedure within twenty (20) days after filing the verified claim.

     7. FILING WITH THE COURT / SERVICE ON THE UNITED STATES:
        The verified claim and answer must be filed with the Office of the Clerk,
        United States District Court for the Southern District of Georgia to the
        attention of Case No. 2:18-cv-00110. The Office of the Clerk is physically
        located at 801 Gloucester Street, Brunswick, GA 31520 with a mailing
        address of P.O. Box 1636, Brunswick, GA 31521-1636. A copy of the claim
        and any answer or motion must be sent to Xavier A. Cunningham, Assistant
        United States Attorney, P.O. Box 8970, Savannah, Georgia 31412-8970.

Failure to follow the requirements set forth above may result in judgment
by default for the relief demanded in the Complaint. You may wish to seek
legal advice to protect your interests.




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     This 20th day of September, 2018.

                                               BOBBY L. CHRISTINE
                                               UNITED STATES ATTORNEY

                                               /s/ Xavier A. Cunningham
                                               ________________________________
                                               Xavier A. Cunningham
                                               Assistant United States Attorney
                                               New York Bar Number 5269477
P.O. Box 8970
Savannah, GA 31412
(912) 652-4422




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                              CERTIFICATE OF SERVICE

      This is to certify that I have on this day served the following individuals and

entities via Certified Mail, Return Receipt Requested, at the following addresses:


         CenterState Bank of Florida                       Weise Prescription Shop, Inc.
             7077 Bonneval Road                                 c/o Rhonda Weise
                  Suite 110                                   4343 Colonial Avenue
         Jacksonville, FL 32216-6073                       Jacksonville, FL 32210-3326

               Rhonda Weise                                       Rhonda Weise
       1855 Copper Stone Drive, Apt. E                         1733 Sanctuary Way
       Fleming Island, FL 32003-4061                      Fleming Island, FL 32003-4986


                                       Dale R. Sisco, Esq.
         c/o Weise Prescription Shop, Inc., Jo Helen Weise and Gilbert Nelson Weise, Jr.
                                             Sisco Law
                                   1110 North Florida Avenue
                                    Tampa, FL 33602-3343


      This 20th day of September, 2018.

                                                      /s/ Xavier A. Cunningham
                                                      ________________________________
                                                      Xavier A. Cunningham
                                                      Assistant United States Attorney

P.O. Box 8970
Savannah, Georgia 31412
(912) 652-4422
